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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                              )
                                                      )
v.                                                    )       No. 1:21-CR-291-002
                                                      )
ALBUQUERQUE COSPER HEAD                               )

                  MOTION FOR LEAVE TO FILE LATE SUPPLEMENT
                        TO SENTENCING MEMORANDUM

       Albuquerque Head, by counsel, respectfully moves the Court to allow him to file a late

Supplement to his Sentencing Memorandum. The additional letter was just received by counsel

for Mr. Head and is important for the Court’s consideration in advance of Mr. Head’s upcoming

sentencing hearing on October 27, 2022. Accordingly, defense counsel requests that the previously

filed Sentencing Memorandum be supplemented with the attached letter on Mr. Head’s behalf.

                                               RESPECTFULLY SUBMITTED:

                                               FEDERAL DEFENDER SERVICES OF
                                               EASTERN TENNESSEE, INC.

                                       BY:     s/ G. Nicholas Wallace
                                               G. Nicholas Wallace
                                               ASB No. 6992D56F
                                               FEDERAL DEFENDER SERVICES
                                               OF EASTERN TENNESSEE, INC.
                                               800 South Gay Street, Suite 2400
                                               Knoxville, TN 337929
                                               (865) 637-7979

                                 CERTIFICATE OF SERVICE

        I hereby certify that on October 25, 2022, a copy of the foregoing Supplement to
Defendant’s Sentencing Memorandum was filed electronically. Notice of this filing will be sent
by operation of the Court’s electronic filing system to all parties indicated on the electronic filing
receipt. All other parties will be served by regular U.S. mail. Parties may access this filing through
the Court’s electronic filing system.

                                               s/ G. Nicholas Wallace
